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Exhibit 5
Comparison of Timelines

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig Deepwater * MDL No. 2179
Horizon in the Gulf * of Mexico, on April 20, *

2010 * SECTION: J
*
Applies to: All Cases. * JUDGE BARBIER
* MAGISTRATE SHUSHAN

* eK KKK KK KKK KK KKK KOK KK OK KKK KKK

TIMELINE
Case Management Order No. 1

Exhibit “A”

Agreed provisions in Black.
Plaintiff proposals in Blue.
Defendant proposals in Red.
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DATE

10-15-2010

11-1-2010

11-1-2010

11-1-2010

11-15-2010

12-1-2010

12-15-2010

12-15-2010

1-18-2011

1-18-2011

DEADLINE / EVENT

Meet & Confer: Pre-Trial Orders (confidentiality, privilege, deposition protocol,
document production protocol and e-discovery protocol, direct filing, etc)

Submit Proposed PTOs

Defendants Responses to Plaintiffs’ Initial Omnibus Discovery Requests on All
Defendants (30 days after service)

Plaintiffs’ Initial Written Phase I Discovery including discovery relating to
casualty and/or ensuing spill, as well as environmental sampling and testing, the
claims process and related issues, personal jurisdiction, MIS/IT/IS, and general
proximate cause issues relating to OPA cases. Defendants may serve written
discovery upon plaintiffs and other defendants relating to casualty and/or ensuing
spill after this date.

MIS 30(b)(6) Depos begin (as necessary)

Plaintiffs’ Liaison Counsel Confer with Defense Liaison Counsel and GCCF
Administrators Regarding Feasibility of Providing Plaintiff Initial Disclosure
Information

Plaintiffs With Suits Filed Serve Initial Disclosures
(Or 60 Days After Filing or Removal, whichever is Later)

Defendants’ Responses to Initial Written Discovery Served, as well as Privilege
Logs relating to the Responses to Plaintiffs’ Initial Omnibus Requests, and
Identification of the Sources of E-Data Not Produced Due to Alleged
“Inaccessibility” or other Undue Burden or Cost, but Which May Include
Evidence Relevant to these MDL Proceedings.

File Master Complaints (Bundles B1, B3 and D)

Status Conference relating to RICO cases and potential Master Complaint for
RICO cases

Rule 12 Motions or Answers to Complaints (Bundles B, C and D) !

Answers or Rule 12(b)(2) Motions (if any); Answers and Rule 12(b)(6) Motions
(if any) (Bundle A)

* Any jurisdictional discovery arising from Rule 12(b)(2) motions that may be filed will be expeditiously dealt with
by the parties through Liaison Counsel.
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1-18-2011

1-18-2011

2-18-2011

2-18-2011

3-18-2011

4-20-2011

5-2-2011

5-20-2011

6-20-2011

8-15-2011

9-15-2011

10-17-2011

11-15-2011

Status conference, preceded by meet and confers to discuss identification of OPA
Test Cases vs. BP and to discuss scheduling order/trial of same; in advance of
such status conference, Defense Liaison will furnish a single memorandum and
Plaintiffs Liaison shall furnish a single memorandum discussing their view of
what the procedure and law would be for such OPA test cases.

Fact Discovery Depositions on Casualty and/or Ensuing Spill Commence
Oppositions to Rule 12 Motions to Dismiss

Cross-Claims and Third-Party Complaints in
Bundle A Cases

Reply Briefs in Support of Motions to Dismiss

Monition Date (re Limitation)

(including deadline for BP to file claim in
Limitation and/or other cross-claim and/or third-
party complaint seeking any subrogation,
contribution and/or indemnity under OPA, per
contract, or other applicable law)

Identify two to four PI/Wrongful Death Limitation action cases and Robins Dry
Dock cases filed in EDLA and designated for Bench trial under Rule 9(h) for
February 2012 Trial of Liability, Limitation, Exoneration and Fault allocation,
and July 2012 trial of Damages.

Deadline for Rule 14(c) Claims, Cross-Claims and Third-Party Complaints to be
Filed in Limitation action and Test Cases

Deadline for answers and responsive pleadings to cross-claims and third-party
actions in the Limitation Action

Expert Reports served by Limitation action parties with burden of proof on
negligence and unseaworthiness

Conference with Court to Establish Scheduling Order for Potential OPA and other
Test Cases

Expert Reports from Vessel Owner / Petitioner in Limitation

All February 2012 Trial Defendants, 14(c) Defendants, and/or Third-Party
Defendants to serve expert reports

Rebuttal Expert Reports for the February 2012 Trial
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11-16-2011 | Depositions of All Experts for February 2012 Trial
thru 1-31-2012

2-1-2012 Daubert Motions for February 2012 Trial (if any)

2-1-2012 Pre-Trial Stipulation, including Witness and Exhibit Lists, and Other Pre-Trial
Motions for February 2012 Trial

2-  -2012 Final Pre-Trial Conference for February 2012 Trial
2-27-2012 Trial of Liability, Limitation, Exoneration and Fault Allocation

45 days Status Conference to discuss status of trial, potential additional discovery and
scheduling, and further proceedings

Additional Discovery, Expert Discovery, and Motion Practice Relating to July 2012
Trial, as needed, and/or to be established under separate Scheduling Order

7-2012 Trial of Damages for selected Limitation / Test Case PI/Death and Robins Dry Dock
° 5 . ele 2 ~ ele eo
Claimants, Entitlement to Punitive Damages, ~ and Amount of Punitive Damages, if
available.

*dlaintiffs Liaison Counsel have recently been advised that it may be more appropriate, for legal or other reasons, to include the
issue of entitlement to punitive damages within the phase one Limitation / Liability / Test Case February 2012 Trial. (The
amount of punitive damages, if any, would be reserved for consideration within the phase two July 2012 Trial.) Plaintiffs
suggest that further discussions should occur between and among the parties and the Court to determine whether there should
be later modification or amendment to the trial plan along these lines.
